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                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

       In re:                                         :

       WILLIAM MICHAEL RAYMOND
       MICHELLE MARIE RAYMOND
                                                      : Chapter 13
                          Debtor(s)                   : Bankruptcy No. 18-15846AMC

                                                  *******

                                                          HEARING TO BE HELD:
                                                          Date: September 19, 2019
                                                          Time: 10:00 a.m.
                                                          Place: United States Bankruptcy Court
                                                                 Courtroom #1, 3rd Floor
                                                                 400 Washington Street
                                                                 Reading, PA 19601

                                                  *******

                 NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

       Scott F. Waterman, Standing Chapter 13 Trustee, has filed Trustee’s
Motion to Dismiss Pursuant to 11 U.S.C. Section 1307 with the Court for dismissal of
this case.

    YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE
PAPERS CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY, IF YOU
HAVE ONE IN THIS BANKRUPTCY CASE. (IF YOU DO NOT HAVE AN
ATTORNEY, YOU MAY WISH TO CONSULT AN ATTORNEY.)

1. If you do not want the Court to grant the relief sought in the motion or if you want the
Court to consider your views on the motion, then on or before August 12, 2019 you or
your attorney must do ALL of the following:

                (a) file an answer explaining your position at

                       U.S. Bankruptcy Court
                       Clerk’s Office
                       United States Courthouse
                       400 Washington Street
                       Reading, PA 19601

If you mail your answer to the Bankruptcy Clerk’s Office for filing, you must mail it
early enough so that it will be received on or before the date stated above; and
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               (b) mail a copy to the movant’s attorney:

                       Rolando Ramos-Cardona, Esq.
                       for
                       Scott F. Waterman, Esq.,
                       Standing Chapter 13 Trustee
                       2901 St. Lawrence Avenue, Suite 100
                       Reading, Pennsylvania 19606
                       Telephone: (610) 779-1313
                       Fax: (610) 779-3637

2. If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the court may enter an Order granting the relief requested
in the motion.

3. A hearing on the motion is scheduled to be held before the Honorable Ashely M. Chan, United States
Bankruptcy Judge, on September 19, 2019 at 10:00 a.m., in Courtroom #1, 3rd Floor, United States
Bankruptcy Court, 400 Washington Street, Reading, PA 19601.

4. If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
you request a copy from the attorney named in paragraph 1(b).

5. You may contact the Bankruptcy Clerk’s Office at (610) 208-5040 to find out whether
the hearing has been cancelled because no one filed an answer.

Date: July 29, 2019.
